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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA

------------------------------------------------------------X
BYRON BREEZE, JR., an individual,                               CASE NO.: 1: -cv-1295
c/o Bashian & Papantoniou, P.C.
500 Old Country Road, Suite 302
Garden City, New York 11530

                 Plaintiff,

                 v.

NAJAFE LLC,
d/b/a C
1717 N Street NW, Suite 1
Washington, DC 20036


and

YK 1529 WISCONSIN AVE NW
LIMITED PARTNERSHIP
1529 Wisconsin Ave NW
Washington, DC 20007-2739

                  Defendants.
------------------------------------------------------------X

                                                COMPLAINT

        Plaintiff, BYRON BREEZE, JR. by and through undersigned counsel, and pursuant to the

Federal Rules of Civil Procedure and all other applicable rules, statutes, regulations and governing

legal authorities, hereby files this Complaint and sues defendants NAJAFE LLC, d/b/a City

Sliders, and YK 1529 WISCONSIN AVE NW LIMITED PARTNERSHIP (collectively,

hereinafter the “Defendants”) for injunctive relief, attorney’s fees and costs, including but not

limited to disbursements, court expenses and fees, pursuant to 42 U.S.C. § 12181 et seq.

(hereinafter “AMERICANS WITH DISABILITIES ACT” or “ADA”) and the ADA Accessibility

Guidelines 28 C.F.R. Part 36 (hereinafter “ADAAG”), and for injunctive relief and damages,

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pursuant to the District of Columbia Human Rights Act, D.C. Code § 2-1401.0 et seq. (“DCHRA”),

and alleges as follows:

                                              JURISDICTION AND VENUE

           1.       This is an action for declaratory and injunctive relief brought pursuant to Title III

of the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. This Court is vested with

original jurisdiction over this dispute pursuant to 28 U.S.C. § 1331 and § 1343. This Court has

supplemental jurisdiction over Plaintiff’s DCHRA claims that arise out of the same nucleus of

facts and circumstances as the subject federal claims.

           2.       Venue is proper and lies in this Court pursuant to 28 U.S.C. §1391 (B) in that the

transaction or occurrence giving rise to this lawsuit occurred in the District of Columbia.

           3.       The remedies provided by the DCHRA against discrimination are not exclusive and

such administrative remedies do not need to be exhausted in connection with a lawsuit commenced

pursuant to the Federal Civil Rights Act.

                                                        THE PARTIES

           4.       At all times material hereto, Plaintiff, BYRON BREEZE, JR., was and is over the

age of 18 years, sui juris, and is a resident of Hyattsville, Maryland 1.

           5.       That, Plaintiff suffers from what constitutes a “qualified disability” under Title III

of the ADA; Plaintiff was born without legs or complete hands, and uses a wheelchair for mobility.

Plaintiff also has a physical disability within the meaning of the laws of the District of Columbia.

           6.       The Defendants, NAJAFE LLC, d/b/a City Sliders (“CITY SLIDERS”), and YK

1529 WISCONSIN AVE NW LIMITED PARTNERSHIP, are authorized to conduct, and are

conducting business within the District of Columbia.



1
    Plaintiff’s residence is approximately 11 miles from the subject restaurant.

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       7.       Upon information and belief, CITY SLIDERS, is a District of Columbia limited

liability company authorized to do business in the District of Columbia, and is the lessee and/or

operator of the real property, and the owner of the improvements where the facility, commonly

referred to as City Sliders, is located and is the subject of this lawsuit (hereinafter the “Subject

Facility”). The Subject Facility is located at 1529 Wisconsin Ave NW, Washington, DC 20007

(hereinafter and heretofore referred to as the Property”). Defendant CITY SLIDERS maintains and

controls the Subject Facility.

       8.       Upon information and belief, YK 1529 WISCONSIN AVE NW LIMITED

PARTNERSHIP, is a District of Columbia limited partnership that conducts business in the

District of Columbia, and is the owner, lessor and/or operator of the real property, where the

Subject Facility is located which is the subject of this lawsuit, the facility commonly referred to as

City Sliders. The Subject Facility is located at Defendants’ Property, and YK 1529 WISCONSIN

AVE NW LIMITED PARTNERSHIP also maintains and controls the Subject Facility. The

Subject Facility is a place of “public accommodation” as that term is defined under the ADA;

specifically, the Subject Facility is operated as a restaurant.

       9.       Prior to the commencement of this action, Plaintiff personally visited the Property

on multiple occasions with the intention of using the Subject Facility. Despite this, on multiple

occasions, Plaintiff was denied full access to, and full enjoyment of the facilities at the Property

and the Subject Facility, and/or any accommodations offered to the public therein in that Plaintiff

was restricted and limited by his disabilities, and therefore suffered an injury in fact. When

Plaintiff arrived at the Subject Facility, he encountered barriers that prevented him from entering

the restaurant. Specifically, Plaintiff was denied access into the Subject Facility due to two steps

that existed at the main entrance of the restaurant. That, Plaintiff continued to desire to visit the



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Property and/or the Subject Facility and returned on multiple dates, but encountered the same

barriers that were present during his initial visit. That, Plaintiff desires to eat at the Subject Facility

because of its reputation for having a diverse American food menu featuring an assortment of

gourmet sliders, and is close driving distance to the Plaintiff’s residence. That, Plaintiff intends to

visit and return to the Property and/or Subject Facility in the future, but continues to be injured in

that he is unable to and continues to be discriminated against due to such architectural barriers

existing at the Subject Facility, all in violation of the ADA, ADAAG and DCHRA.

        10.     That all events giving rise to the instant action occurred in the District of Columbia.

Venue is proper in the United States District Court District of Columbia in that the Defendants’

Property and Subject Facility are located in the District of Columbia.

                                     COUNT I
                 VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT


        11.     Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set

forth herein.

        12.     On or about July 26, 1990, Congress enacted the Americans with Disabilities Act,

42 U.S.C. § 12101, et seq.

        13.     Congress specifically found, inter alia, that:

           i.   Some 43,000,000 Americans have one or more physical or mental disabilities, and

                this number is increasing as the population as a whole is growing older;

          ii.   Historically, society has tended to isolate and segregate individuals with

                disabilities, and, despite some improvements, such forms of discrimination against

                individuals with disabilities continue to be a serious and pervasive social problem;




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 iii.   Individuals with disabilities continually encounter various forms of discrimination,

        including outright intentional exclusion, the discriminatory effects of architectural,

        transportation, and communication barriers, overprotective rules and policies,

        failure to make modifications to existing facilities and practices, exclusionary

        qualification standards and criteria, segregation, and relegation to lesser service,

        programs, activities, benefits, jobs, or other opportunities

 iv.    Discrimination against individuals with disabilities persists in such critical areas of

        employment, housing, public accommodations, education, transportation,

        communication, recreation, institutionalization, health services, voting, and access

        to public services; and,

  v.    The continuing existence of unfair and unnecessary discrimination and prejudice

        denies people with disabilities the opportunity to compete on an equal basis and to

        pursue those opportunities for which our free society is justifiably famous, and costs

        the United States billions of dollars in unnecessary expenses resulting from

        dependency and non-productivity.

14.     Congress explicitly set forth the purpose of the ADA; to wit:

   i.   Provide a clear and comprehensive national mandate for the elimination of

        discrimination against individuals with disabilities;

 ii.    Provide a clear, strong, consistent, enforceable standards addressing discrimination

        against individuals with disabilities; and,

 iii.   Invoke the sweep of congressional authority, including the power to enforce the

        fourteenth amendment and to regulate commerce, in order to address the major

        areas of discrimination faced day-to-day by people with disabilities.



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          15.   The congressional legislation provided commercial enterprises with a period of one

and a half years from the enactment of the statute to implement the requirements imposed under

the ADA.

          16.   The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993, if defendant has 10 or fewer employees and gross receipts of $500,000.00 or less).

          17.   Pursuant to 42 U.S.C. §1281(7) and 28 C.F.R. §36.104, the Subject Facility, which

is subject to this action is a public accommodation because it provides good and services to the

public.

          18.   Upon information and belief, the Subject Facility has begun operations, and/or has

undergone substantial remodeling, repairs and/or alterations since January 26, 1992, and/or has

sufficient income to make readily achievable accessibility modifications.

          19.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

of Justice, Office of Attorney General, promulgated federal regulations to implement the

requirements of the ADA.

          20.   Public accommodations were required to conform to these regulations by January

26, 1992 (or January 26, 1993, if defendant has 10 or fewer employees and gross receipts of

$500,000.00 or less).

          21.   The Defendants’ Property and Subject Facility is legally required to be, but is not,

in compliance with the ADA and/or ADAAG.

          22.   The Defendants’ Property and Subject Facility are in violation under the ADA, 42

U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et. seq. in that the Defendants are discriminating

against the Plaintiff, as a result of the following specific violations, which include, but are not

limited to, the following:



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 1. Inaccessible entrance.

       i.   Accessible route to the establishment is not provided as required.

      ii.   Accessible means of egress is not provided as required.

     iii.   The existing steps at the entrance act as a barrier to accessibility.

      iv.   The required ramp is not provided at the steps at the entrance.

      v.    The required minimum maneuvering clearance is not provided at the

            entrance door.

      vi.   Non-compliant change in floor level within the required maneuvering

            clearance at the entrance door.

 2. Inaccessible exterior street dining area.

       i.   Accessible route to the dining area is not provided as required.

      ii.   The raised sidewalk at the curb travel path to the dining area acts as a barrier

            to accessibility.

     iii.   The required ramp is not provided for the raised curb at the travel path

            leading to the dining area.

      iv.   Inaccessible dining tables.

      v.    The required minimum knee and toe clearance is not provided at the dining

            tables.

      vi.   The minimum percentage of existing dining tables that are required to be

            accessible are not provided.

 3. Inaccessible dining tables located at the interior dining area.

       i.   The required minimum knee and toe clearance is not provided at the dining

            tables.



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      ii.      The minimum percentage of existing dining tables that are required to be

               accessible are not provided.

 4. Inaccessible bar.

            a. Non-compliant height of the bar exceeds the maximum height allowance.

            b. The required minimum knee and toe clearance is not provided at the bar.

            c. The portion of the bar that is required to be accessible is not provided.

 5. Inaccessible exterior back dining area.

       i.      Accessible route to the dining area is not provided as required.

      ii.      The existing steps at the travel path to the dining area acts as a barrier to

               accessibility.

     iii.      The required ramp is not provided at the steps at the travel path to the dining

               area.

 6. Inaccessible travel path to the restrooms.

       i.      Accessible route to the restrooms is not provided as required.

      ii.      The existing steps at the travel path to the restrooms acts as a barrier to

               accessibility.

     iii.      The required ramp is not provided for the steps at the travel path to the

               restrooms.

 7. Inaccessible men’s restroom.

       i.      Compliant signage identifying the men’s restroom is not provided as

               required.

      ii.      The required minimum clear width is not provided at the door of the men’s

               restroom.



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     iii.   The required minimum maneuvering clearance is not provided at the door

            of the restroom.

     iv.    The required minimum turning space is not provided.

      v.    Inaccessible hand dryer.

               a. Non-compliant mounted height of the hand dryer exceeds the

                   maximum height allowance.

     vi.    Inaccessible lavatory in the men’s restroom.

               a. The required minimum clear floor space is not provided at the

                   lavatory.

               b. The required minimum knee and toe clearance is not provided at the

                   lavatory.

               c. Non-compliant height of the lavatory exceeds the maximum height

                   allowance.

    vii.    Inaccessible water closet in the men’s restroom.

               a. The required minimum clearance is not provided at the water closet.

               b. The required grab bars are not provided on the rear and side walls

                   of the water closet.

               c. Non-compliant distance of the water closet from the side wall.

 8. Inaccessible women’s restroom.

       i.   Compliant signage identifying the restroom is not provided as required.

      ii.   The required minimum clear width is not provided at the door of the

            restroom.




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     iii.   The required minimum maneuvering clearance is not provided at the door

            of the restroom.

     iv.    Non-compliant door swing.

               a. The restroom door swings into the floor space of the fixtures in the

                   restroom.

               b. Non-compliant door knob at the door of the restroom requires

                   twisting of the wrist.

      v.    Inaccessible light switch.

               a. Non-compliant height of the light switch in the women’s restroom

                   exceeds the maximum height allowance.

     vi.    The required minimum turning space is not provided in the women’s

            restroom.

    vii.    Inaccessible water closet.

               a. The required minimum clearance is not provided at the water closet

                   in the women’s restroom.

               b. The required grab bars are not provided on the rear and side walls

                   of the water closet.

    viii.   Inaccessible lavatory.

                  a. The required minimum clear floor space is not provided at the

                        lavatory.

                  b. Non-compliant height of the lavatory exceeds the maximum

                        height allowance.




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                             c. The insulation of pipes and water lines under the lavatory is not

                                 provided as required.

       23.     Plaintiff has attempted to access the Property and Subject Facility, but has been

precluded from accessing the Property and Subject Facility, because of his disabilities;

specifically, Plaintiff was precluded by physical barriers to access, dangerous conditions, and ADA

violations existing upon the Property and Subject Facility. These violations, which include but are

not limited to those enumerated herein, prohibit Plaintiff from accessing the Property and Subject

Facility, and/or the goods, services, facilities, privileges, advantages and/or accommodations

offered therein.

       24.     Remediating the ADA and/or ADAAG violations set forth herein is both

technically feasible and readily achievable.

       25.     Plaintiff intends to visit the Property and Subject Facility, again in the future

(immediately upon Defendants’ compliance with an Order of this Court requiring that Defendants

remedy the subject ADA and/or ADAAG violations) in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations offered at the Defendants’ Property and

Subject Facility; however, in light of his disability, unless and until the Property and Subject

Facility, is brought into compliance with the ADA and/or ADAAG, Plaintiff will remain unable

to fully, properly, and safely access the Property and Subject Facility, and/or the goods, services,

facilities, privileges, advantages and/or accommodations offered therein.

       26.     As a result of the foregoing, Defendants have discriminated against, and continue

to discriminate against the Plaintiff, and others similarly situated, by denying access to, and full

and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or




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accommodations of the Property and/or Subject Facility.              Defendants’ discrimination is

specifically prohibited by 42 U.S.C. § 12182, et seq.

       27.      Moreover, Defendants will continue to discriminate against Plaintiff, and others

similarly situated, until it is compelled by this Court to remove all physical barriers upon the

Property and Subject Facility, which violate the ADA and/or ADAAG, including but not limited

to those specifically set forth herein, and to make the Property and Subject Facility, accessible to

and usable by persons with disabilities, including Plaintiff.

       28.      Plaintiff is without adequate remedy at law, and is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendants

are required to remove the physical barriers, dangerous conditions, ADA and/or ADAAG

violations that exist upon the Property and Subject Facility, including but not limited to those set

forth herein.

       29.      This Court is vested with authority to grant injunctive relief sought by Plaintiff

herein, including entry of an order requiring alteration and modification of the Property and

Subject Facility, so as to make readily accessible to and useable by individuals with disabilities,

including but not limited to Plaintiff to the extent required by ADA and/or ADAAG.

       30.      Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action, and has agreed to pay counsel reasonable attorney’s fees, costs, and

litigation expenses, all of which are recoverable against the Defendants.

                                            COUNT II
                                    VIOLATIONS OF THE DCHRA


       31.      Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set

forth herein.



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       32.     The DCHRA provides:

               It shall be an unlawful discriminatory practice to do any of the
               following acts, wholly or partially for a discriminatory reason based
               on the actual or perceived: race, color, religion, national origin, sex,
               age, marital status, personal appearance, sexual orientation, gender
               identity or expression, familial status, family responsibilities,
               genetic information, disability, matriculation, political affiliation,
               source of income, or place of residence or business of any
               individual: to deny, direct or indirectly, any person the full and equal
               enjoyment of the goods, services, facilities, privileges, advantages,
               and accommodations of any place of public accommodations.…

       33.     The Property and Subject Facility is a place of public accommodation as defined

by the DCHRA.

       34.     Plaintiff visited the Property and Subject Facility and encountered architectural

barriers as described herein.

       35.     By maintaining architectural barriers that discriminate against people with

disabilities through the actions described above, Defendants have, directly or indirectly, refused,

withheld, and/or denied to Plaintiff, because of his disability, the accommodations, advantages,

facilities or privileges thereof provided at the Defendants’ Property and Subject Facility.

       36.      Plaintiff has been damaged and will continue to be damaged by this discrimination

as more fully set forth above and, in addition to injunctive relief, seeks judgment pursuant to D.C.

Code § 2-1401.0 et seq., and all relief provided for thereunder.

                                  ATTORNEYS’ FEES AND COSTS

       40.     Plaintiff has been obligated to retain the undersigned attorneys for purposes of

filing and prosecuting this lawsuit. Pursuant to the ADA and DCHRA, Plaintiff is entitled to have

his reasonable attorneys’ fees, costs and expenses paid by the Defendants.




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                                                 DAMAGES

        41.     Plaintiff demands compensatory damages in the form of a judgment to be

determined at trial based on Defendants’ violation of the DCHRA.



                                          INJUNCTIVE RELIEF

        43.     Plaintiff will continue to experience unlawful discrimination because of

Defendants’ failure to comply with the ADA, ADAAG and DCHRA.

        44.     Pursuant to 42 U.S.C. § 12188, this Honorable Court is vested with the authority to

grant injunctive relief in favor of the Plaintiff, including but not limited to the issuance of an Order

to alter the Property and Subject Facility so that they are made readily accessible to, and useable

by, all individuals with disabilities, including Plaintiff, as required pursuant to the ADA, ADAAG

and DCHRA, and closing the facilities until the requisite modifications are complete.

        45.     Therefore, injunctive relief is necessary to order Defendants to alter and modify

their place of public accommodation, their policies, business practices, operations and procedures.

        46.     Injunctive relief is also necessary to make the Subject Premises readily accessible

and useable by Plaintiff in accordance with the ADA, ADAAG and DCHRA.

        WHEREFORE, Plaintiff hereby demands judgment against the Defendants, jointly and

severally, and requests the following injunctive and declaratory relief:

        a)      A declaration that the Defendants’ Property and Subject Facility owned, leased,

operated, controlled and/or administrative by Defendants are in violation of the ADA, ADAAG

and DCHRA;

        b)      An Order requiring Defendants to evaluate and neutralize their policies, practices

and procedures towards individuals with disabilities, for such reasonable time to allow the



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Defendants to undertake and complete corrective procedures to Defendants’ Property and the

Subject Facility;

       c)       An Order requiring Defendants to alter their facilities and amenities to make them

accessible to and useable by individuals with disabilities as required pursuant to Title III of the

ADA, ADAAG and DCHRA;

       d)       An Order issuing a permanent injunction ordering Defendants to close the Subject

Premises and cease all business until Defendants remove all violations under the ADA, ADAAG

and DCHRA, including but not limited to the violations set forth herein;

       e)       An award of reasonable attorneys’ fees, costs, disbursements and other expenses

associated with this action, in favor of the Plaintiff; and

       f)       For such other and further relief that this Court deems just, necessary and proper.

DATED this 8th day of April 2022.

                                                       BASHIAN & PAPANTONIOU, P.C.
                                                       Attorneys for Plaintiff
                                                       500 Old Country Road, Ste. 302
                                                       Garden City, NY 11530
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                                                       By: /s/ Erik M. Bashian, Esq.
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